

People v McIntyre (2023 NY Slip Op 03413)





People v McIntyre


2023 NY Slip Op 03413


Decided on June 22, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 22, 2023

Before: Renwick, P.J., Kennedy, Scarpulla, Shulman, Higgitt, JJ. 


SCI No. 70943/21 Appeal No. 508 Case No. 2022-00307 

[*1]The People of the State of New York, Respondent,
vDeshawn McIntyre, Defendant-Appellant.


Mark W. Zeno, Center for Appellate Litigation, New York (Frances C. Weil of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Judgment, Supreme Court, New York County (Laura A. Ward, J.), rendered January 18, 2022, convicting defendant, upon her plea of guilty, of assault in the third degree as a hate crime, and sentencing her to a term of six months and three years' probation, unanimously reversed, on the law, and the superior court information dismissed.
As the People concede, defendant's waiver of indictment and subsequent SCI were jurisdictionally defective, because defendant, who was arraigned on a misdemeanor complaint, was not held for grand jury action (see People v Zanghi , 79
NY2d 815, 817 [1991]). Defendant is therefore entitled to dismissal. We see no reason to remand the matter for further proceedings, as the People have suggested. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 22, 2023








